
HARRISON J.,
delivered - the opinion of the Court.
The defendant was presented at the September Term, 1866, of the Circuit Court of Overton, for retailing. The presentment charging, that, she did, on the 1st day of May, 1866, in said County, unlawfully sell, vend, and retail, spiritous liquors, to wit: Whisky to one J. E. McDonald, and divers other persons, in quantities, less than a quart, she, the said defendant, not having taken out a license. The presentment is signed by twelve grand jurors.
At the January Term, 1867, she moved the Court to quash the indictment, which motion was sustained, the indictment quashed; and the District Attorney prosecuting for the State, appealed to this Court. There is no ground stated, as a ground, upon which the Court was asked to quash the presentment. The presentment is a good one under sec. 4857. The article in the Code, for, regulating, and preventing the sale of liquors, is to be construed liberally, so as to effectuate the objects had in view: Code, sec. 4860.
We cannot discover any grounds for quashing the indictment, and the judgment must be reversed, and the cause remanded, for the trial of the defendant on the presentment.
